

After Remand from the Supreme Court

PER CURIAM.
This court affirmed the trial court’s judgment, without an opinion. Taylor v. Lee, 789 So.2d 249 (Ala.Civ.App.1999) (table). This court’s judgment has been reversed and the cause remanded by the Supreme Court of Alabama. Ex parte Taylor, 828 So.2d 883 (Ala.2001). On remand to this court, and in compliance with the Supreme Court’s opinion, the judgment of the trial court is hereby reversed and the cause remanded for further proceedings consistent with the Supreme Court’s opinion.
REVERSED AND REMANDED WITH INSTRUCTIONS.
All the judges concur.
